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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
CASE NO: 0:19-CV-61603-WPD

LAUREEN HAVEL-GOLDFARB,
Plaintiff,

Vs.

SAFE N STEADY, INC.,
JAMES D. GOLDBERG, &
CATHI B. GOLDBERG,

Defendants.
/

DEFENDANTS’ REPLY TO THE PLAINTIFF’S RESPONSE TO THE DEFENDANTS’
STATEMENT OF UNDISPUTED MATERIAL FACTS

The Defendants SAFE N STEADY, INC (“SNS”); JAMES D. GOLDBERG (“JDG”);
and CATHI B. GOLDBERG, (“CBG”);, collectively referred to as the “Defendants,” pursuant to
and in accordance with Fed. R. Civ. P. 56 and the Southern District of Florida’s Local Rule
56.1(a) hereby file and submit their Reply to the Plaintiffs Response to the Defendants’
Statement of Undisputed Material Facts in support of its Motion for Summary Judgment, and in
support thereof state:

Defendants’ Response to Plaintiff's Additional Facts Asserted in Plaintiff?s Response to
Plaintiff’s Statement of Undisputed Material Facts
(The following numbered paragraphs coincide with the numbered paragraphs
in the Defendant’s Statement orf Material Facts and the Plaintiffs Response)

Lk Defendant’s dispute the Plaintiff's assertion that the Plaintiff was an employee of
the Defendants. The Plaintiff admitted that she was an Independent Contractor and not an
employee in her Response to the Defendant Statement of Material [ECF-28] 9912, 13, 14!

! Affidavit of James D. Goldberg, ECF-28-4 (Aff. JDG) 912; Affidavit of Cathi B. Goldberg,
ECF-28-2 (Aff. CBG) 912; Affidavit of George Oritis, ECF-28-3 (Aff. GO) 912; 2d Affidavit of
George Oritis, (2d.Aff. GO) 978, 9, 12.

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No response as not disputed by Plaintiff.
No response as not disputed by Plaintiff.
No response as not disputed by Plaintiff.
No response as not disputed by Plaintiff.

No response as not disputed by Plaintiff. Her response was unknown.

NN we YN

No response as not disputed by Plaintiff.

8. Defendants dispute Plaintiffs assertion as the Plaintiffs duties were as delineated
in Fla. Stat. Chapters 400 and 408, along with Chapter 59A-18 of the FAC. See Exhibit A for list of
duties as a Home Health Aide which are consistent with the requirements set forth in the above
statutes and regulations. The allegation that “the vast majority of time and duties consisted
providing care and doing domestic,” is clearly refuted by the notebook that was written and
promulgated by the Plaintiff for use in identifying her duties, the care and oversight provided by the
Plaintiff. A copy this notebook is attached hereto as Exhibit B. Additionally, Sol Pearlman hired a
domestic housekeeper during all material times to this action to take care of the general
housekeeping needs of VP’s home and Sol Pearlman himselfdid the grocery shopping for VP?

9. No response as not disputed by Plaintiff.

10. Defendants dispute Plaintiff's assertion that she was not an Independent
Contractor but was an employee of the Defendants. The Plaintiff admitted that she was an
Independent Contractor and not an employee in her Response to the Defendant Statement of
Material [ECF-28] 9912, 13, 14. Further, the Plaintiff clearly maintained control over the
method and the means of performing the work and services she provided for VP. This is clearly
expressed in the notebook that was written and promulgated by the Plaintiff for use in identifying
her duties, the care and oversight provided by the Plaintiff and as an instruction manual for
Caregivers who covered for the Plaintiff in her absence. (Exhibit B.) Additionally, attached hereto
as Exhibit C is a copy of a note that the Plaintiff sent to Delia a covering Caregiver about how to
care for VP, which further supports that not only did she have control over the method and means of
her care for VP, but that the Plaintiff was directing the care for VP for other Caregivers as well.’

2 Sol Pearlman’s Affidavit (Aff. SP) 7; Aff. IDG 99; Aff. CBG, 99; Aff. GO, 49; Admitted in
Amended Answer, ECF-26, 49.
3 Aff. IDG J11; Aff. CBG 411; Aff. GO 411.

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11. Defendants dispute Plaintiff's assertion that she was not an Independent
Contractor but was an employee of the Defendants. The Plaintiff admitted that she was an
Independent Contractor and not an employee in her Response to the Defendant Statement of
Material [ECF-28] §§12, 13, 14. Further, this assertion is legally impossible as the Florida law
requires that the Plaintiff as a “Home Health Aide” as defined in Fla. Stat. §400.462(15) and also
as a “Caregiver” as defined in 59A-18.002(3) FAC (as admitted by the Plaintiff in {10 of the
Statement of Material Facts) must have been Independent Contractors.

12. The Plaintiff did not dispute the statement of material fact that, “Pursuant to Fla.
Stat. §400.506(6)(d) the Defendants would be in violation of this statute if the Plaintiff was an

employee of the Defendants and not an independent contractor.” However, the Defendants dispute

the remaining representations made by the Plaintiff.
13. The Plaintiff did not dispute the statement of material fact that, “All Home Health

Aides that have a relationship with Defendant Safe N Steady must be Independent Contractors
pursuant to Fla. Stat. §400.506(6)(d) and not an employee.” However, the Defendants dispute the
remaining representations made by the Plaintiff.

14. The Plaintiff did not dispute the statement of material fact that, “The Plaintiff met
all of the requirements to serve as a “Caregiver” as defined in 59A-18.002(3), of the Florida
Administrative Code, and as a “Home Health Aide” as defined in Fla. Stat. §400.462(15).”
However, the Defendants dispute the remaining representations made by the Plaintiff.

15. Defendants dispute Plaintiffs assertion that the Defendants did not rely upon and
operated in compliance with the U.S.D.0.L. F.A.B. No. 201 8-4, as the Defendants did so.*

16. Defendants dispute Plaintiffs assertion that the Defendants are in the business of
providing homecare services. The Defendants sole business is that of being a Nurse Registry
providing Caregivers to patients. The Plaintiff admitted to this in her Response to the Defendant
Statement of Material [ECF-28] 42, 3, 4, 5, 7, 8.

17. Defendants dispute Plaintiffs assertion that the Plaintiff could not control the type

of work she did, her compensation, or her availability. On the contrary, the Plaintiff was in control

‘ Aff, IDG, (16; Aff. CBG 916; Aff. GO 916.
5 Aff. IDG 417(A); Aff. CBG $17(A); Aff. GO, §17(A); 2d Affidavit of Cathi B. Goldberg
(2d. Aff. CBG) 994,5,6,9; Aff. GO 4.

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of the care that she provided and her compensation. Sol Pearlman negotiated the terms and
requirements of the all of his mother (VP) Caregivers. [Sol Pearlman’s Affidavit {§5, 6] In fact, Sol
Pearlman agreed to and provided additional compensation for the Plaintiff above and beyond the
rates paid through the Defendants’ registry. This included Sol Pearlman paying for the Plaintiff's
gas, tires, and car washes, along with all of the expenses (food, beverages, cover charges, admission
fees, etc.) for both VP and the Plaintiff on all of their outings.®

The care that the Plaintiff provided was memorialized in Plaintiff's notebook. (Exhibit B).
Further there was no control of the Plaintiff by the Defendants in the services that she provided VP
because if the Plaintiff would have been an employee of the Defendants and she engaged course of
conduct that she did in providing care to VP, she would have been terminated. Such conduct
included the Plaintiff during her workday would drink alcoholic beverages, entertain Plaintiff's
family including her husband and mother-in-law as an occasional overnight guests, sell handbags to
third parties, pick-up her grandchildren, market her singing career, and to have her hair colored by
third parties at VP’s home. However, since these activities were approved by Sol Pearlman, the
Defendants could not take any action against the Plaintiff.’

18. | No response as not disputed by Plaintiff.

19. Defendant’s dispute Plaintiffs assertion and reliance on an excerpt from the
Employee Contract in support of their dispute of the statement of fact that. The Defendants are
introducing clients/patients with Registry Caregivers, including the Plaintiff, who had similar
requisites, desires, and needs. The decision to hire, fire, along with remainder of the terms and
conditions of the relationship is up to the client and Caregivers to agree upon or not. The client is
free to engage or not engage the services of the Plaintiff or any other Caregiver presented by the
Defendants. The Defendants do not negotiate the terms of the job or relationship between the
Plaintiff or other Caregivers and the client.

Not only is this Plaintiff denial refuted by the Affidavits identified herein, but the Plaintiffs
reliance on the Employee Contract is clearly debunked based on the fact that George Oritis, Safe N
Steady’s Chief Financial Officer stated under oath that the when the Plaintiff requested to register

6 Aff. SP 46, 8. 10.
7 Aff. IDG $17(B); Aff. CBG 417(B); Aff. GO §17(B); Aff. SP $95, 6, 8, 9, 10; 2dAfF CBG 44,
5, 6, 8, 12; 2dAff. GO, 9B.

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with Defendant Safe N Steady, Inc. as a Home Health Aide, she was provided numerous
engagement documents to be completed. Inadvertently, an old out date Employee Contract [ECF
31-11, Exhibit A, DEFS 0443-0444] was mistakenly included in the on-boarding document
package. Nonetheless, this Employee Contract, was checked marked by the Plaintiff as the Plaintiff
being an “Independent Contractor” and signed. This Employee Contract was referenced and relied
upon in her Affidavit [ECF-31-1, §3] and in her Response to the Defendant’s Motion for Summary
Judgement [ECF-31]. The Plaintiff contemporaneously entered into an Independent Contractor
Agreement (Exhibit D) which correctly governed the terms of the Plaintiff's relationship with the
Defendants and the services the Plaintiff provided; not the Employee Contract relied upon by the
Plaintiff. At no time was the Plaintiff ever held to the terms of the Employment Agreement. As the
Employee Contract was a red herring to the case at bar.*

The terms of the Independent Contractor Agreement, which governed the relationship

between the Plaintiff and the Defendants are:

il. The Registry isthe Referrer and beds VO ip

. The Contractor shall perform all such duties/services as

ili.  The-Registry shall not deduct taxes from the Contractor's pay.

\¥. The Contractor shall maintain proper liability insurance and make a copy available to our Registry, if
applicable. [] Required 2 Net Required

V. The weekly Timesheet notes must verify) provision of services and visit completion and must include
signature by the Client or the Client's representative if applicable. The Timesheet / Bill sheet or related
information for reimbursement for service provided must be received in our office within 1 week (riot
jater than the following Tuesday before 5:00 pm). .

VI. Services to be performed by the Contractor shall be assigned by the Client, Both parties to this contract
understand and agree that Clients are accepted for care. by this Registry and you are referred to them
as 2 independent Gontractor.

Vil, Both parties agree that the Contractor |shall conform to all applicable Registry policies, including
personne! qualifications as. preseribed by the “Agency for HealthCare Administration” (AHCA.) Ail
Patients health information must be mainfained as CONFIDENTIAL as per HIPAA requirements.

VIN. Both parties agree that the Contraztor shall be. paid an hourly rate of $. ____— of per visit rate
of$______., during the: regular biweekly pay period.

IX. This contract is subject te automatic annual renewal, If not cariceled by any party.

X. The Contractor must submit evidence ef liability insurance if applicable, evidence of current licensure,
education or certification and all requirements as mandated by the AHCA.

is the Contractor.
miher by the Client.

[2d Affidavit of George Oritis, 42, 3; Exhibit D]

8 Aff. IDG {17(D); Aff. CBG $17(D); Aff. GO J17(D); Aff. SP 45, 6, 8, 9, 10; 2dAff. CBG 4,
5, 6, 8, 12; 2dAff. GO $92, 3.
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20. No response as not disputed by Plaintiff.

21. Dispute Plaintiff's assertion that she had no opportunity to influence her profit or
loss through effective management skill, that the Defendants set the rate of compensation, and that
the Plaintiff did not negotiate her rate of pay. The Plaintiffs response is clearly false. At all times
material to the case at bar, the Plaintiff had full control of her ability to influence her earning
potential. Specifically, the Plaintiff negotiated her rate of pay with Sol Pearlman. In fact, in
addition to the rate of pay that she negotiated with Sol Pearlman which was paid through the
Defendants’ Registry, the Plaintiff negotiated with Sol Pearlman that he would also pay for the
Plaintiff's gas, tires, and car washes, along with all of the expenses (food, beverages, cover charges,
admission fees, etc.) for both VP and the Plaintiff on all of their outings.”

In addition, the Plaintiff clearly demonstrated her management skills in her creation of the
notebook (Exhibit B) which was the schedule and list of duties that the Plaintiff performed and
which she directed the duties of other Caregivers who covered for her in the Plaintiff's absence to
follow. This is further supported by the text message to Caregiver Delia. (Exhibit D).

22. Dispute Plaintiff’s assertion that the Defendants had the authority to hire and fire
the Plaintiff. This is another erroneous statement by the Plaintiff. Once a Caregiver registers with
the Defendants, so long as the Caregiver remains legally compliant with the state regulations, the
Caregiver will remain on the Defendants registry. Even if a client terminates their relationship with
the Caregiver, the Caregiver remains on the registry for future referrals.'°

The Defendants did not have the ability to terminate the Plaintiff from her service to VP,
because if the Plaintiff would have been an employee of the Defendants and she engaged course of
conduct that she did in providing care to VP, she would have been terminated. Such conduct
included the Plaintiff during her workday would drink alcoholic beverages, entertain Plaintiff's
family including her husband and mother-in-law as an occasional overnight guests, sell handbags to

third parties, pick-up her grandchildren, market her singing career, and to have her hair colored by

9 Aff. SP 48; Aff. JDG F17(F); Aff. CBG 17(F); Aff. GO §17(F); Aff. SP 495, 6, 8, 9, 10; 2dAff.
CBG 494, 5, 6, 8, 12; 2dAfF. GO $92, 3.
10 2d Aff. CBG 12; Exhibit C; Aff. JDG §17(G); Aff. CBG, §17(G); Aff. GO 417(G).

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third parties at VP’s home. However, since these activities were approved by Sol Pearlman, the
Defendants could not take any action against the Plaintiff.!!

23. Defendants dispute Plaintiff's assertion that she could not control the type of work
she would be doing for the Defendants customers. This is an absurd assertion. The services that the
Plaintiff provided were established by state statute/regulations for the position that she was certified
to perform, that she applied for when she registered with the Defendants and which she held.
(Exhibit A.) It was up to the Plaintiff and Sol Pearlman to deciden on how those services were to be
provided, not the Defendants.

24. Defendants dispute Plaintiff's assertion that she did not provided any equipment,
tools, or supplies to perform her services other than the periodic purchase of gloves. This too is a
falsity in that the Plaintiff provided two (2) walkers, a wheelchair, and a foot wedge for VP’s use.’

25.  Defendant’s dispute Plaintiff's assertion that the Defendants set the terms of each
assignment and that Cathi Goldberg and Jimmy Goldberg were the Plaintiffs direct supervisors.
This is clearly a false statement. Sol Pearlman was the designated healthcare surrogate and
attorney-in-fact for VP. (Exhibit E.) Cathi and Jimmy Goldberg had no role in the relationship
between the Plaintiff and Sol Pearlman on behalf of VP. Their only involvement was as daughter
and son-in-law. All control as to VP’s care was between Sol Pearlman and the Plaintiff.'*

26. Defendants dispute Plaintiff's assertion that she was under the control of the
Defendants and that she was subject to performance reviews by the Defendants. The Plaintiff
again relied on the Employee Contract which as attested to by George Oritis was a mistake, and that
the Plaintiff's relationship as a registered Caregiver with the Defendants was detailed in the
Independent Contractor Agreement that the Plaintiff executed at the time of registration. At no time

was the Plaintiff ever subjected to performance evaluations or reviews.'°

'l Aff. IDG 17(B); Aff. CBG 917(B); Aff. GO 417(B); AfESP 995, 6, 8, 9, 10; 2dAff. CBG $94,
5, 6, 8, 12; 2dAff. GO, 2, 3.
2 Aff. JDG 417(D); Aff. CBG, §17(D); Aff. GO 417(D); Aff. SP 995, 6, 8, 9, 10; 2dAff. CBG
14, 5, 6, 8, 12; 2dAff GO, 92, 3.
13 Aff. SP 915; 2dAff. CBG 410.
14 2d Aff. CBG 992, 5, 6, 8, 10; Aff. SP 992, 3, 13, 16; Aff. IDG F170); Aff. CBG 417); Aff. GO
q17(J).
15 2d Aff GO §2, 3; Exhibit C; Aff. IDG §17(K); Aff. CBG §17(K); Aff. GO $17(K).

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27. The Defendants paid the Plaintiff for her time in accordance with the timesheets
submitted by the Plaintiff and which were approved by Sol Pearlman.'®

28. The Defendants paid the Plaintiff for her time in accordance with the timesheets
submitted by the Plaintiff and which were approved by Sol Pearlman. The Defendants never
disputed any time entries as the timesheets were approved by Sol Pearlman."

29. No response as not disputed by Plaintiff.

30. Dispute Plaintiff's assertion that she did not provided any equipment, tools, or
supplies to perform her services other than the periodic purchase of gloves. This too is a clear false
statement in that the Plaintiff provided two (2) walkers, a wheelchair, and a foot wedge for VP’s
use. !®

31. Defendants dispute the Plaintiff's assertion that she did not work for any one else
during the times material to this action. The Plaintiff is again relying on the red herring Employee
Contract and language in the “Daily Progress Notes” that if the client circumvents the registry
relationship between the Plaintiff and Defendants that client could be liable for damages. The
Plaintiff in addition to providing services to VP; was also a “Lyft” driver from July 2017 through
the present time. Additionally, the Plaintiff was a “DJ - Karaoke Host, - Singer,” since 1988 to the
present. The Plaintiff since July 18, 2007 has been and is currently a licensed realtor (License #
3200532). Her current license expires March 21, 2021. In fact, the Plaintiff used the image and
identity of VP, via posting in Facebook to promote her DJ business. Affidavit of Sol Pearlman
G11, 12, 13 16; 2d Affidavit of Cathi Goldberg 7, 13; 2d Affidavit of George Oritis, 42, 3.

22. Dispute Plaintiff's assertion. No further response required.

33. Dispute Plaintiff's assertion. No further response required.

CERTIFICATION OF SERVICE

I hereby certify that a copy of this pleading which was filed with the Clerk of the Court
was provided to the Plaintiff's attorney, Elliot Kozolchyk, Esquire, Koz Law, P.A. 320 SE gf
Street, Fort Lauderdale, FL 33316 @ ekoz@kozlawfirm.com via the Court’s ECM/ECF Portal
on June 15, 2020.

'6 Aff. SP 914; 2dAff. CBG §11; Aff. IDG, §17(L); Aff. CBG 917(L); Aff. GO 417(L).
17 Aff. SP 914; 2dAff CBG 411; Aff, IDG $17(L); Aff. CBG §17(L); Aff. GO 417(L).
18 Aff. SP 915; 2dAff. CBG 410.

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/s/ RANDY M. GOLDBERG, ESOUIRE
Florida Healthcare Law Firm

151 NW 1° Avenue

Delray Beach, FL 33444

754-224-0867

FBN: 045187
randy(@randygoldberglaw.com
randymgoldbere(@gmail.com

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Safe N Steady Inc.

100 East Linton Blvd. Suite 201A, Delray Beach, Fl 33483
Tel: 561-237-5252 Fax 561-807-7859

AHCA Guidelines

Definitions

ADL - Activities of Daily Living

Ambuiation

Bathing Assistance / Tub - Shower
Bed Bath / Sink Bath

Shampoo Hair, Shave & Mouth Care
Dressing Assistance

Feeding

Toileting

Urinal / Bed Pan

Diaper

Catheter / Ostomy Care
Transferring: Bed, toilet or commode

IADL - Instrumental Activities of daily Living

Meal Preparation
Grocery Shopping
Cleaning

Laundry
Transportation
Errands

Medication Reminders

EXHIBIT

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EXHIBIT

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GM Delia. Please do not use double diapers for Ginger. It is a big waste. Also there are overnight diapers in the
bathroom on the lower shelf. If you don't see it, I'll show you. As far as her makeup goes...| did not use a different
foundation, | did put heavier than usual because you don't do her makeup and it had to last for the day and for the
holiday night. Also no matter how much foundation she is wearing, it still needs to come off completely. If it's not off
completely it dries up her skin and that's not good the following day. Without day cream and night cream she gets dark
eyes and bags under her eyes. She's 80, Extra care in certain areas is necessary. She's slowly slowing down. If you wish
to speak with me, I'll hang out with you a while later today.

Laureen

Sent from my iPhone

EXHIBIT

Pee

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This is what Laureen
sent Delia.

GM Delia. Please do
not use double dia-
pers for Ginger. It is a
big waste. Also there
are overnight diapers
in the bathroom on
the lower shelf. If you
don't see it, I'll show
you. As far as her
makeup goes...| did
not use a different
foundation, | did put
heavier than usual
because vou don't do
Case 0:19-cv-61603-WPD Document 38 Entered on FLSD Docket 06/14/2020 Page 19 of 37

This Contract j is made-and entered into this

2

| Steady Inc.

aeniimeen

herein hamed the > Registh an

_ Herein

_is the Contractor.

. ‘The Registry isthe Referrer and__ 2-7
I. The Contractor shall perform all such du

iil. The Registry shall not deduct taxes.from'

\¥. The Contractor shail maintain proper liab
applicable. [ Required EP Not Re

V. The weekly Timesheet notes must verif
signature by the:Client-or the Client’s repres
information for reimbursement for service

_ later than the following Tuesday before 5:

VI. Services to bé performed by the Contrac
understand and agree that Clients aré acce
as a Independent Contracter.

Vil. Both parties agree that the Contractor
personne! qualifications as. prescribed
Patients health information. must be mainta

Vill, Both parties agree that the Contrattor shall |
of S__ , during the ragular biwee

iX. This contract is subject to automatic annua:

X. The Gontractor must submit evidence: of

education or certification afd all require

Safe eatee He ons 100 East Linton Blvd.
Email: gosafensteady@aol com Tel: 562,

sigervices as.are alia to himiher by the Client

@ Contractor's pay.

ility insurance and make a copy available to our Registry, if
quired

provision of services and visit completion and must include
entative if applicable. The Timesheet / Bill sheet or related
provided must be received in our office within 1 week (not
DG pm).

or shall be assigned by the Client, Both parties to this contract
apted for care. by this Registry and you are referred to them

shall conform to all applicable Registry policies, including
the “Agancy for HealthCare Administration” (AHCA,) All
ined as GONFIDENTIAL as per HIPAA requiremenis.

of per visit rate.

‘renewal, if not canceled by any party.
liability insurance if applicable, evidence of current licensure,
ents as: mandated by the AHCA.

Suite 201A Delray Beach, Fi33483 Licensed 30211828
237-5252 Pax S6l gig

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PROFESSIONAL RESPONSIBILITY

Nothing in this Agreement shall be construed to
the Contractor in accordance with his independe:

fere with or otherwise affect the rendering of services by
and professional judgment. This Agreement shal! be subject

te the policies and procedures, the rules and regulations ef Florida's Agency for Healthcare Administration and
the laws and regulations governing sald practice in this State.

Both parties agree that Clients are accepted for care, the service will be coordinated, controlled end evaluated

by Client, the Contracter must comply with ail
admission assessment, and report any need of
identifying the need.

TAX

i, Aripees Level

ing of visits accerding to Physician order and initial
le change to the Client and Registry immediately upon

EXEMPT FORM
hereby acknowledge that {| am an Independent Contractor.

Therefore, 1am responsible for my Social
preceding year by February of each yeer which

ee 106 East Linton Bive.
zi by a6 ViEeo;.cor Tek 562.

y and other taxes, and will receive an IRS 1099 Form for the
alse sent to the internal Revenue Service (IRS).

SIGNATURES
Empioyee / Contractor

201A Delray Beach, Fi 33483 Sone ais oes
77-5252 Fax 561-807-7838 www.safenste

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DURABLE POWER OF ATTORNEY
OF

VIRGINIA PEARLMAN

I, VIRGINIA PEARLMAN, with an address of 470/ fine. Tee De. ’ Poy actos Bet,
Florida 33443 make, constitute my son, SOL PEARLMAN, with an address of
90 | Pine’ liveDe., Boyles if. 33443, as my agent hereunder. If SOL PEARLMAN dies,
becomes legally disabled, resigns, or ceases to act, I make, constitute and nominate my daughter,
LORI BEN YOSEF, with an address of 13953 Panay Way — Apt. 120, Marina Del Ray,
California 90292, as my agent. My son and my daughter are referred to herein jointly as my
"agent". When multiple agents are serving jointly under this durable power of attorney, all of
them must act or sign together, except that one or more of the agents may delegate to a co-agent
the authority to conduct banking transactions as provided in Section 709.2208(1), Florida
Statutes. Furthermore, when multiple agents are named or serving hereunder and any one or

more, but not all, die, become legally disabled, resign, or refuse to act, the remaining agent or
agents, as the case may be, shall continue to serve in such capacity.

ARTICLE I

I hereby give and grant unto my said agent full power and authority to act for. me in any:
lawful way with respect to the powers enumerated in Article II, and to the powers which I have

initialed in Article III, of this durable power of attorney.
ARTICLE 0

te

My agent is authorized to act for me in my name, place and stead and may exercise any
or all of the powers contained in this Article II.

2.1 Banking and Other Financial Institution Transactions. With regard to
banking and other financial institution transactions, my agent shall have the authority to conduct
banking transactions as provided in section 709.2208(1), Florida Statutes.

2.2 Investment Transactions. With regard to stock and bond transactions, my agent
shall have the authority to conduct investment transactions as provided in section 709.2208(2),

Florida Statutes.

2.3. Real Property Transactions. With regard to real property transactions, my
agent may exercise all of the following powers with regard to any real property I own: (1)
convey or mortgage homestead property; (2) accept as a gift or as security for a loan or reject,
demand, buy, lease, receive, or otherwise acquire an interest in real property or a right incident to
real property; (3) sell, exchange, convey with or without covenants, quitclaim, release, surrender,
mortgage, encumber, partition, consént to partitioning, subdivide, apply for zoning, rezoning, or

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other governmental permits, plat or consent to platting, develop, grant options concerning, lease
or sublet, or otherwise dispose of an estate or interest in real property or a right incident to real
property; (4) release, assign, satisfy, and enforce by litigation, action, or otherwise a mortgage,
deed of trust, encumbrance, lien, or other claim to real property that exists or is claimed to exist;
(5) do any act of management or of conservation with respect to an interest in real property, or a
right incident to real property, owned or claimed to be owned by me, including power to insure
against a casualty, liability, or loss; obtain or regain possession or protect the interest or right by
litigation, action, or otherwise; pay, compromise, or contest taxes or assessments or apply for and
receive refunds in connection with them; and purchase supplies, hire assistance or labor, or make
repairs or alterations in the real property; (6) use, develop, alter, replace, remove, erect, or install
structures or other improvements on real property in which I have or claim to have an estate,
interest, or right; (7) participate in a reorganization with respect to real property or a legal entity
that owns an interest in or right incident to real property, receive and hold shares of stock or
obligations received in a plan or reorganization, and act with respect to the shares or obligations,
including selling or otherwise disposing of the shares or obligations; exercising or selling an
option, conversion, or similar right with respect to the shares or obligations; and voting the
shares or obligations in person or by proxy; (8) change the form of title of an interest in or right
incident to real property; and (9) dedicate easements or other real property in which I have or
claim to have an interest to public use, with or without consideration.

2.4 Tangible Personal Property Transactions. With regard to tangible personal
property transactions, my agent may exercise all of the following powers: (1) accept as a gift or
as security for a loan, reject, demand, buy, receive, or otherwise acquire ownership or possession
of tangible personal property or an interest in tangible personal property; (2) sell, exchange,
convey with or without covenants, release, surrender, mortgage, encumber, pledge, hypothecate,
create a security interest in, pawn, grant options concerning, lease or sublet to others, or
otherwise dispose of tangible personal property or an interest in tangible personal property; (3)
release, assign, satisfy, or enforce by litigation, action, or otherwise a mortgage, security interest,
encumbrance, lien, or other claim on my behalf, with respect to tangible personal property or an
interest in tangible personal property; and (4) do an act of management or conservation with
respect to tangible personal property or an interest in tangible personal property on my behalf,
including insuring against casualty, liability, or loss; obtaining or regaining possession or
protecting the property or interest by litigation, action, or otherwise; paying, compromising, or
contesting taxes or assessments or applying for and receiving refunds in connection with taxes or
assessments; moving from place to place; storing for hire or on a gratuitous bailment; and using,

altering, and making repairs or alterations.

2.5 Business Operation Transactions. With regard to business operation
transactions, my agent may exercise all of the following powers: (1) operate, buy, sell, enlarge,
reduce, or terminate a business interest; (2) to the extent that my agent is permitted by law, to
perform a duty or discharge a liability or exercise a right, power, privilege, or option that I have,
may have, or claim to have under a partnership agreement, whether or not I am a general or
limited partner; (3) to the extent that my agent is permitted by law, to enforce the terms of a
partnership agreement by litigation, action, or otherwise; (4) to the extent that my agent is

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permitted by law, to defend, submit to arbitration, settle, or compromise litigation or an action to
which I am a party because of membership in the partnership; (5) exercise in person or by proxy
or enforce by litigation, action, or otherwise a right, power, privilege, or option I have or claim to
have as the holder of a bond, share, or other instrument of similar character and defend, submit to
arbitration, settle, or compromise a legal proceeding to which I am a party because of a bond,
share, or similar instrument; (6) with respect to any business owned solely by me, continue,
modify, renegotiate, extend, and terminate a contract made with any individual or legal entity,
firm, association, or corporation by or on my behalf with respect to the business before execution
of the power of attorney; (7) with respect to any business owned solely by me, to determine the
location of its operation; the nature and extent of its business; the methods of manufacturing,
selling, merchandising, financing, accounting, and advertising employed in its operation; the
amount and types of insurance carried; and the mode of engaging, compensating, and dealing
with its accountants, attorneys, and other agents and employees; (8) with respect to any business
owned solely by me, to change the name or form of organization under which the business is
operated and enter into a partnership agreement with other persons or organize a corporation to
take over all or part of the operation of the business; (9) with respect to any business owned
solely by me, to demand and receive money due or claimed by me or on my behalf in the
operation of the business and control and disburse the money in the operation of the business;
(10) put additional capital into a business in which I have an interest; (11) join in a plan of
reorganization, consolidation, or merger of the business; (12) sell or liquidate a business or part
of it at the time and on the terms that my agent considers desirable; (13) establish the value of a
business under a buy-out agreement to which I am a party; (14) prepare, sign, file, and deliver
— reports, compilations of information, returns, or other papers with respect to a business that are
required by a governmental agency, department, or instrumentality or that my agent considers
desirable and make related payments; and (15) pay, compromise, or contest taxes or assessments
and do any other act that my agent considers desirable to protect me from illegal or unnecessary
taxation, fines, penalties, or assessments with respect to a business, including attempts to
recover, in any manner permitted by law, money paid before or after the execution of the power

of attorney.

2.6 Insurance Transactions. With regard to insurance transactions, my agent may
exercise all of the following powers: (1) continue, pay the premium or assessment on, modify,
rescind, release, or terminate a contract procured by or on my behalf that insures or provides an
annuity to either me or another person, whether or not I am a beneficiary under the contract; (2)
procure new, different, or additional contracts of insurance and annuities for me or my spouse,
children, and other dependents and select the amount, type of insurance or annuity, and mode of
payment; (3) pay the premium or assessment on or modify, rescind, release, or terminate a
contract of insurance or annuity procured by my agent; (4) apply for and receive a loan on the
security of the contract of insurance or annuity; (5) surrender and receive the cash surrender
value of a contract of insurance or annuity; (6) exercise an election; (7) change the manner of
paying premiums; (8) change or convert the type of insurance contract or annuity with respect to
which I have or claim to have a power described in this section; (9) apply for and procure
government aid to guarantee or pay premiums of a contract of insurance on my life; (10) collect,
sell, assign, hypothecate, borrow on, or pledge my interest in a contract of insurance or annuity;

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and (11) pay from proceeds or otherwise, compromise or contest, or apply for refunds in
connection with a tax or assessment levied by a taxing authority with respect to a contract of
insurance or annuity or its proceeds or liability accruing because of the tax or assessment.

2.7 Estate, Trust, and Other Beneficiary Transactions. With regard to estate, trust,
and other beneficiary transactions, my agent may act for me in all matters that affect a trust,
probate estate, guardianship, conservatorship, escrow, custodianship, or other fund from which I
am, may become, or claim to be entitled, as a beneficiary, to a share or payment, including to: (1)
accept, reject, receive, receipt for, sell, assign, release, pledge, exchange, or consent to a
reduction in or modification of a share in or payment from the fund; (2) demand or obtain by
litigation, action, or otherwise money or any other thing of value to which I am, may become, or
claim to be entitled because of the fund; (3) initiate, participate in, or oppose a legal or judicial
proceeding to ascertain the meaning, validity, or effect of a deed, will, declaration of trust, or
other instrument or transaction affecting my interest, (4) initiate, participate in, or oppose @ legal
or judicial proceeding to remove, substitute, or surcharge a fiduciary; (5) conserve, invest,
disburse, or use anything received for an authorized purpose; and (6) transfer all or part of my
interest in real property, stocks, bonds, accounts with financial institutions, insurance, and other
property to the trustee of a revocable trust created by me as settlor.

2.8 Claims and Litigation. With regard to claims and litigation, my agent has the
power to: (1) assert and prosecute before a court or administrative agency 2 claim, a claim for
relief, a counterclaim, or an offset or defend against an individual, a legal entity, or a
government, including suits to recover property or other thing of value, to recover damages
sustained by me, to eliminate or modify tax liability, or to seek an injunction, specific
performance, or other relief; (2) bring an action to determine adverse claims, intervene in an
action or litigation, and act as amicus curiae; (3) in connection with an action or litigation,
procure an attachment, garnishment, libel, order of arrest, or other preliminary, provisional, or
intermediate relief and use an available procedure to effect or satisfy a judgment, order, or
decree; (4) in connection with an action or litigation, perform any lawful act I could perform,
including acceptance of tender, offer of judgment, admission of facts, submission of a
controversy on an agreed statement of facts, consent to examination before trial, and binding of
me in litigation; (5) submit to arbitration, settle, and propose or accept 4 compromise with
respect to a claim or litigation; (6) waive the issuance and service of process on me, accept
service of process, appear for me, designate persons on whom process directed to me may be
served, execute and file or deliver stipulations on my behalf, verify pleadings, seek appellate
review, procure and give surety and indemnity bonds, contract and pay for the preparation and
printing of records and briefs, or receive and execute and file or deliver a consent, waiver,
release, confession of judgment, satisfaction of judgment, notice, agreement, or other instrument
in connection with the prosecution, settlement, or defense of a claim or litigation; (7) act for me
with respect to bankruptcy or insolvency proceedings, whether voluntary or involuntary,
conceming me or some other person, with respect to a reorganization proceeding or a
receivership or application for the appointment of a receiver or trustee that affects my interest in
real or personal property or other thing of value; and (8) pay 4 judgment against me or a
settlement made in connection with a claim or litigation and receive and conserve money or

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other thing of value paid in settlement of or as proceeds of a claim or litigation.

2.9 Personal and Family Maintenance. With regard to personal and family
maintenance, my agent may exercise all of the following powers: (1) perform the acts necessary
to maintain the customary standard of living of me, my spouse and children, and other
individuals customarily or legally entitled to be supported by me, including providing living
quarters by purchase, lease, or other contract, or paying the operating costs, including interest,
amortization payments, repairs, and taxes on premises owned by me and occupied by those
individuals; (2) provide for the individuals described by Subsection (1) of this section normal
domestic help, usual vacations and travel expenses, and funds for shelter, clothing, food,
appropriate education, and other current living costs; (3) pay necessary medical, dental, and
surgical care, hospitalization, and custodial care for the individuals described by Subsection (1)
of this section; (4) continue any provision made by me for the individuals described by
Subsection (1) of this section, for automobiles or other means of transportation, including
registering, licensing, insuring, and replacing the automobiles or other means of transportation;
(5) maintain or open charge accounts for the convenience of the individuals described by
Subsection (1) of this section and open new accounts that my agent considers desirable to
accomplish a lawful purpose; and (6) continue payments incidental to my membership or
affiliation in a church, club, society, order, or other organization or to continue contributions to

those organizations.

2.10 Benefits From Certain Governmental Programs or Civil or Military Service.
With regard to benefits from social security, Medicare, Medicaid, or other governmental
programs or civil or military service, my agent has the power to: (1) execute vouchers in my
name for allowances and reimbursements payable by the United States, a foreign government, or
a state or subdivision of a state to me, including allowances and reimbursements for
transportation of the individuals described by Section 2.09(1) of this durable power of attorney,
and for shipment of their household effects; (2) take possession and order the removal and
shipment of my property from a post, warehouse, depot, dock, or other place of storage or
safekeeping, either governmental or private, and execute and deliver a release, voucher, receipt,
bill of lading, shipping ticket, certificate, or other instrument for that purpose; (3) prepare, file,
and prosecute a claim to a benefit or assistance, financial or otherwise, to which I claim to be
entitled under a statute or governmental regulation; (4) prosecute, defend, submit to arbitration,
settle, and propose or accept a compromise with respect to any benefits I may be entitled to
receive; and (5) receive the financial proceeds of a claim of the type described in this Section
2.10 of this durable power of attomey and conserve, invest, disburse, or use anything received

for a lawful purpose.

2.11 Retirement Plan Transactions. With regard to retirement plan transactions, my
agent may exercise all of the following powers: (1) apply for service or disability retirement

benefits; (2) select payment options under any retirement plan in which I participate, including»

plans for self-employed individuals; (3) make voluntary contributions to retirement plans if
authorized by the plan; (4) exercise the investment powers available under any self-directed
retirement plan; (5) make "rollovers" of plan benefits into other retirement plans; (6) borrow

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from, sell assets to, and purchase assets from retirement plans if authorized by the plan; (7)
receive, endorse, and cash payments from a retirement plan; and (8) request and receive
information relating to me and my retirement plan records.

2.12 Tax Matters. With regard to tax matters, my agent may exercise all of the
following powers: (1) prepare, sign, and file federal, state, local, and foreign income, gift,
payroll, Federal Insurance Contributions Act, and other tax returns, claims for refunds, requests

including receipts, offers, waivers, consents, including consents and agreements under Section
2032A of the Internal Revenue Code of 1986, as amended, (the "Code"), closing agreements, and
any power of attorney form required by the Internal Revenue Service or other taxing authority
with respect to a tax year on which the statute of limitations has not run and 25 tax years
following that tax year; (2) pay taxes due, collect refunds, post bonds, receive confidential
information, and contest deficiencies determined by the Internal Revenue Service or other taxing
authority; (3) exercise any election available to me under federal, state, local, or foreign tax law;
(4) act for me in all tax matters for all periods before the Internal Revenue Service and any other
taxing authority; and (5) represent me, and appoint an agent or agents to represent me, before the
Internal Revenue Service or any State or other taxing authority by completing, signing, and
submitting IRS Form 2848 or any other governmental form.

2.13 Existing and Foreign Interests. The powers described in Article II of this
durable power of attorney may be exercised equally with respect to an interest I have at the time
this durable power of attorney is executed or an interest which I acquire later, whether or not the
interest is located in Florida and whether or not the powers are exercised or the durable power of

attorney is executed in Florida.

2.14 Digital Assets. To access any online accounts I have, either in my own name or
jointly with anyone, including but not limited to email, bank accounts, brokerage accounts,
Internet service providers, retail vendors, utilities, mutual funds and the like; to change my
username and password as necessary to gain access to my accounts or information, and to open
new accounts and close accounts as my agent determines is necessary or advisable and in my
a a and to transfer funds among my accounts as my agent deems necessary or
advisable,

2.15 Separation and Divorce. If my spouse has been designated as my agent or
alternate agent under this instrument and, if subsequent to the execution of this document, my
spouse and I are legally separated or divorced, any rights and powers granted to my spouse shall
immediately terminate on such legal separation or divorce.

ARTICLE III

My agent is authorized to perform the following specific acts for me if I have initialed the
specific authority listed below:

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(V cr ) Power to Make Annual Exclusion Gifts. I grant to my agent the power to make
gifts (outright, in trust, or otherwise) of any of my property to or to pay amounts
on behalf of any person in an amount per donee which qualifies for the Federal
gift tax annual exclusion under Section 2503(b) of the Internal Revenue Code of
1986, as amended, or if I am married at the time and my spouse agrees to split
gifts for Federal gift tax purposes, in an amount per donee which qualifies for
twice the Federal gift tax annual exclusion, or to any charitable organization to
which deductible gifts may be made under the income and gift tax provisions of

the Code.

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( V " ) Power to Make Gifts to Qualify for Public Benefits. If my agent in my agent's
sole discretion has determined that I need nursing home or other long-term
medical care and that I will receive proper medical care whether I privately pay
for such care or if I am a recipient of Title XIX (Medicaid) or other public
benefits, then my agent shall have the power: (i) to take any and all steps
necessary, in my agent's judgment, to obtain and maintain my eligibility for any
and all public benefits and entitlement programs, including, if necessary, creating
and funding a qualified income trust or special needs trust for me or a disabled
child, if any; (ii) to transfer with or without consideration my assets to my
descendants (if any), or to my natural heirs at law or to the persons named as
beneficiaries under my last will and testament or a revocable living trust which I
may have established, including my agent; and (iii) to enter into a personal
services contract for my benefit, including entering into such contract with my
agent, and even if doing so may be considered self-dealing. Such public benefits
and entitlement programs shall include, but are not limited to, Social Security,
Supplemental Security Income, Medicare, Medicaid and Veterans benefits.

( UR ) Waive My Right to be a Beneficiary of Joint and Survivor Annuity,
Including a Survivor Benefit Under a Retirement Plan. My agent shall have
the power to waive my right to be a beneficiary of a joint and survivor annuity,
including a survivor benefit under a retirement plan. This waiver right shall apply
to an annuity or retirement plan which is owned by me, in which I am a

participant, or in which lam a beneficiary.

Disclaim Property and Powers of Appointment. My agent shall have the power
to disclaim any property, including a power of appointment, and also including
any legacy, bequest, devise, gift, or other property interest or payment due or
payable to me.

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ARTICLE IV

Notwithstanding any provision herein to the contrary, any authority granted to my agent

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shall be limited so as to prevent this durable power of attorney from causing my agent to be
taxed on my income (unless my agent is my spouse) and from causing my assets to be subject to
a general power of appointment by my agent, as that term is defined in Section 2041 of the Code.

ARTICLE V

Any act or thing lawfully done hereunder by my said agent shall be binding on myself
and my heirs, legal and personal representatives, and assigns, provided, however, that all
business transacted hereunder for me or for my account shall be transacted in my name, and that
all endorsements and instruments executed by my said agent for the purpose of carrying out the
foregoing powers shall contain my name, followed by that of my said agent and the designation

"Agent."
ARTICLE VI

Any third party may transact any matter with my agent in the same manner and to the
same extent as the third party would transact such matter with me. Third parties who act in
reliance upon the representations of my agent shall be held harmless by me, my estate, the
beneficiaries of my estate, or joint owners of property from any loss suffered or liability incurred
as a result of actions taken prior to receipt of written notice of revocation, suspension, notice of a
petition to determine incapacity, partial or complete termination, or my death. Any third party
may rely upon a copy of this durable power of attorney certified by my agent to be a true copy of
the original hereof, as fully as if such third party had received an original of this durable power

of attomey.

ARTICLE Vil

My agent shall not be liable for any acts or decisions made in good faith and in
conformity with the powers enumerated in this durable power of attorney. However, my agent
shall not be relieved from liability for breach of duty committed dishonestly, with improper
motive, or with reckless indifference to me or the purposes of this durable power of attorney.

ARTICLE Vili

My agent shall have the power to pay a reasonable fee from my estate to each agent who
is a qualified agent as defined in Section 709.2112(4), Florida Statutes as compensation for
services rendered under this durable power of attorney in an amount which does not exceed the
customary and prevailing charges for services of a similar character at the time and place such
services are performed. My agent shall also be entitled to reimbursement of expenses reasonably

incurred on my behalf.
ARTICLE IX
I hereby revoke all prior general powers of attorney executed by me. However, I do not

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hereby revoke any powers of attorney I have previously executed for a limited or specific
purpose, or powers of attorney I have executed as part of a contract for the management of any
bank or brokerage account. If I desire to revoke any such prior limited or specific power of
attorney, I will execute a revocation specifically referring to the power of attorney to be revoked.

ARTICLE X

This durable power of attorney is not terminated by subsequent incapacity of the
principal except as provided in chapter 709, Florida Statutes. This durable power of attorney
shall terminate by one or more of the following circumstances:

(1) My death;
(2) The death or deaths of all agents named in the first paragraph of this durable power of

attorney; or
(3) The occurrence of an event described in Section 709.2109, Florida Statutes.

ARTICLE XI

Notwithstanding the powers contained in this durable power of attorney, my attorney in

fact may not:
(1) Perform duties under a contract that requires the exercise of my personal services;

(2) Make any affidavit as to my personal knowledge;

(3) Vote in any public election on my behalf;

(4) Execute or revoke any will or codicil on my behalf;

(5) Create, amend, modify, or revoke any document or other disposition effective at

my death;
(6) Exercise powers and authority granted to me as trustee or as court-appointed

fiduciary.

Signed on neh? day of Tabu , in the year 2017.
ly i yet ah ve eX _——

VIRGINIA PEARLMAN, Principal

*. Case 0:19-cv-61603-WPD Document 38 Entered

(Printed Name)
Witness

aoe

~ lowe, Cotbale

(Printed Name)
Witness

STATE OF FLORIDA
COUNTY OF PALM BEACH

Before me, the undersigned authority, on this day personal!
who is personally known to me or who has produced  A/ ype of

identification) as identific ion proving her to b bscribed to the
foregoing instrument as Principal, (Katzen A weft a witness who is personally

known to me or who has produged 2 (type of identification) as
identification, and Mey. tabn77- —~ 4 witness who is personally known to me or
who has produced (type of identication} as identification,

éach of whom acknowledged to me that such Principal executed the foregoing instrument in the
Dresence of such witnesses for the purposes and consideration therein expressed.

—
Given under my hand and seal of office, on the x ., day of V ,in
the year 2017 : -
thc G- Widbtect
fi .
Notary Public, State of Florida
Notary's printed name:

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DESIGNATION OF HEALTH CARE SURROGATE
AND HIPAA RELEASE AUTHORIZATION

OF
VIRGINIA PEARLMAN
I, VIRGINIA PEARLMAN, designate as my health care surrogate under s. 765.202,

Florida Statutes:

Name: SOL PEARLMAN

Address: 4701 Pine Tree Drive

Boynton Beach, Florida 33436
Phone: Cell: (516) 650-3828

If SOL PEARLMAN is not willing, able, or reasonably available to perform his/her
duties, I designate as my alternate health care surrogate:

Name: LORI BEN YOSEF

Address: 13953 Panay Way — Apt. 120
Marina Dei Ray, CA 90292

Phone: Cell: (310) 650-2009

INSTRUCTIONS FOR HEALTH CARE
I authorize my health care surrogate to:

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U \ Receive any of my health information, whether oral or recorded in any form or
(initial here) medium, that:

1. Is created or received by a health care provider, health care facility, health
plan, public health authority, employer, life insurer, school or university, or
health care clearinghouse; and

2. Relates to my past, present, or future physical or mental health or condition;
the provision of health care to me; or the past, present, or future payment for the
provision of health care to me.

I further authorize my health care surrogate to:

Uv ” Make all health care decisions for me, which means he or she has the authority
(initial here) to:

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1. Provide informed consent, refusal of consent, or withdrawal of consent to any
and all of my health care, including life-prolonging procedures.

2. Apply on my behalf for private, public, government, or veterans’ benefits to
defray the cost of health care.

3. Access my health information reasonably necessary for the health care
surrogate to make decisions involving my health care and to apply for benefits
for me.

4. Decide to make an anatomical gift pursuant to part V of chapter 765, Florida
Statutes.

SPECIFIC INSTRUCTIONS AND RESTRICTIONS

iwre .t-+—Lherebyrequire my surrogate to direct my physicians to comply with any valid
(initial here) Living Will, Directive to Physicians, or similar document which I may have
heretofore executed or which I may hereafter execute. My surrogate is not
authorized to direct my physician in a manner which would contradict any such

valid Living Will, Directive to Physicians, or similar document.

While I have decision-making capacity, my wishes are controlling and my physicians and
health care providers must clearly communicate to me the treatment plan or any change to the
treatment plan prior to its implementation.

To the extent I am capable of understanding, my health care surrogate shall keep me
reasonably informed of all decisions that he or she has made on my behalf and matters
concerning me.

If my Spouse has been designated as my health care surrogate or alternate health care
surrogate under this instrument and, if subsequent to the execution of this document, my Spouse
and I are legally separated or divorced, any rights and powers granted to my Spouse shall
immediately terminate on such legal separation or divorce.

A copy of this document shall be as valid as the original.

THIS HEALTH CARE SURROGATE DESIGNATION IS NOT AFFECTED BY MY
SUBSEQUENT INCAPACITY EXCEPT AS PROVIDED IN CHAPTER 765, FLORIDA
STATUTES.

PURSUANT TO SECTION 765.104, FLORIDA STATUTES, I UNDERSTAND THAT
I MAY, AT ANY TIME WHILE I RETAIN MY CAPACITY, REVOKE OR AMEND THIS

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DESIGNATION BY:

(1) SIGNING A WRITTEN AND DATED INSTRUMENT WHICH EXPRESSES MY
INTENT TO AMEND OR REVOKE THIS DESIGNATION;

(2) PHYSICALLY DESTROYING THIS DESIGNATION THROUGH MY OWN
ACTION OR BY THAT OF ANOTHER PERSON IN MY PRESENCE AND UNDER
MY DIRECTION;

(3) VERBALLY EXPRESSING MY INTENTION TO AMEND OR REVOKE THIS
DESIGNATION; OR

(4) SIGNING A NEW DESIGNATION THAT IS MATERIALLY DIFFERENT FROM
THIS DESIGNATION.

MY HEALTH CARE SURROGATE'S AUTHORITY BECOMES EFFECTIVE WHEN
MY PRIMARY PHYSICIAN DETERMINES THAT I AM UNABLE TO MAKE MY OWN
HEALTH CARE DECISIONS UNLESS I INITIAL EITHER OR BOTH OF THE
FOLLOWING BOXES:

IF I INITIAL THIS BOX, MY HEALTH CARE SURROGATE'S
AUTHORITY TO RECEIVE MY HEALTH INFORMATION TAKES
EFFECT IMMEDIATELY.

IF I INITIAL THIS BOX, MY HEALTH CARE SURROGATE'S
AUTHORITY TO MAKE HEALTH CARE DECISIONS FOR ME TAKES

“°—-BEEEBCF-IMMEDIATELY. PURSUANT TO SECTION 765.204(3), FLORIDA
STATUTES, ANY INSFRUCTIONS OR HEALTH CARE DECISIONS I
MAKE, EITHER VERBALLY OR IN WRITING, WHILE I POSSESS
CAPACITY SHALL SUPERCEDE ANY INSTRUCTIONS OR HEALTH
CARE DECISIONS MADE BY MY SURROGATE THAT ARE IN
MATERIAL CONFLICT WITH THOSE MADE BY ME.

y faa

DEFINITIONS

The following definitions as set forth in Section 765.101 of the Florida Statutes shall
apply:

i. "Advance directive" means a witnessed written document or oral statement in
which instructions are given by a principal or in which the principal's desires are expressed
concerning any aspect of the principal's health care or health information, and includes, but is not
limited to, the designation of a health care surrogate, a living will, or an anatomical gift made
pursuant to part V of chapter 765 of the Florida Statutes.

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Bs " Attending physician" means the primary physician who has responsibility for the
treatment and care of the patient while the patient receives such treatment or care in a hospital as
defined in Section 395.002(12) of the Florida Statutes.

3. "Close personal friend" means any person 18 years of age or older who has
exhibited special care and concern for the patient, and who presents an affidavit to the health
care facility or to the primary physician stating that he or she is a friend of the patient; is willing
and able to become involved in the patient's health care; and has maintained such regular contact
with the patient so as to be familiar with the patient's activities, health, and religious or moral
beliefs.

4. "End-stage condition" means an irreversible condition that is caused by injury,
disease, or illness which has resulted in progressively severe and permanent deterioration, and
which, to a reasonable degree of medical probability, treatment of the condition would be
ineffective.

5, "Health Care" means care, services, or supplies related to the health of an
individual and includes, but is not limited to, preventive, diagnostic, therapeutic, rehabilitative,
maintenance, or palliative care, and counseling, service, assessment, or procedure with respect to
the individual's physical or mental condition or functional status or that affect the structure or
function of the individual's body.

6. "Health care decision" means: (a) Informed consent, refusal of consent, or
withdrawal of consent to any and all health care, including life-prolonging procedures and
mental health treatment, unless otherwise stated in the advance directives. (b) The decision to
apply for private, public, government, or veterans’ benefits to defray the cost of health care. (c)
The right of access to health information of the principal reasonably necessary for a health care
surrogate or proxy to make decisions involving health care and to apply for benefits. (d) The
decision to make an anatomical gift pursuant to part V of chapter 765 of the Florida Statutes.

7 "Health care facility" means a hospital, nursing home, hospice, home health
agency, or health maintenance organization licensed in this state, or any facility subject to part I
of chapter 394 of the Florida Statutes.

8. "Health care provider" or "provider" means any person licensed, certified, or
otherwise authorized by law to administer health care in the ordinary course of business or
practice of a profession.

9. "Health information" means any information, whether oral or recorded in any
form or medium, as defined in 45 C.F.R. s. 160.103 and the Health Insurance Portability and
Accountability Act of 1996, 42 U.S.C. s. 1320d, as amended, that: (a) Is created or received by a
health care provider, health care facility, health plan, public health authority, employer, life
insurer, school or university, or health care clearinghouse; and (b) Relates to the past, present, or

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future physical or mental health or condition of the principal; the provision of health care to the
principal; or the past, present, or future payment for the provision of health care to the principal.

10. "Incapacity" or "incompetent" means the patient is physically or mentally unable
to communicate a willful and knowing health care decision. For the purposes of making an
anatomical gift, the term also includes a patient who is deceased.

11. "Informed consent" means consent voluntarily given by a person after a sufficient
explanation and disclosure of the subject matter involved to enable that person to have a general
understanding of the treatment or procedure and the medically acceptable alternatives, including
the substantial risks and hazards inherent in the proposed treatment or procedures, and to make a
knowing health care decision without coercion or undue influence.

12.  "Life-prolonging procedure" means any medical procedure, treatment, or
intervention, including artificially provided sustenance and hydration, which sustains, restores, or
supplants a spontaneous vital function. The term does not include the administration of
medication or performance of medical procedure, when such medication or procedure is deemed
necessary to provide comfort care or to alleviate pain.

13. "Living will" or "declaration" means: (a) A witnessed document in writing,
voluntarily executed by the principal in accordance with Florida Statute 765.302; or (b) A
witnessed oral statement made by the principal expressing the principal's instructions concerning
life-prolonging procedures.

14. "Persistent vegetative state’ means a permanent and irreversible condition of
unconsciousness in which there is: (2) The absence of voluntary action or cognitive behavior of
any kind. (b) An inability to communicate or interact purposefully with the environment.

15. "Physician" means a person licensed pursuant to chapter 458 or chapter 459 of the
Florida Statutes.

16. "Primary physician" means a physician designated by an individual or the
individual's surrogate, proxy, or agent under a durable power of attorney as provided in chapter
709, to have primary responsibility for the individual's health care or, in the absence of a
designation or if the designated physician is not reasonably available, a physician who
undertakes the responsibility.

17. "Principal" means a competent adult executing an advance directive and on whose
behalf health care decisions are to be made or health care information is to be received, or both.

18. "Proxy" means a competent adult who has not been expressly designated to make
health care decisions for a particular incapacitated individual, but who, nevertheless, is
authorized pursuant to Florida Statute 765.401 to make health care decisions for such individual.
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19. "Reasonably available" means readily able to be contacted without undue effort
and willing and able to act in a timely manner considering the urgency of the patient's health care
needs.

20. "Surrogate" means any competent adult expressly designated by a principal to

make health care decisions and to receive health information. The principal may stipulate
whether the authority of the surrogate to make health care decisions or to receive health
information is exercisable immediately without the necessity for a determination of incapacity or
only upon the principal's incapacity as provided in Florida Statute 765.204 on behalf of the
principal upon the principal's incapacity.

21. "Terminal condition" means a condition caused by injury, disease, or illness from
which there is no reasonable medical probability of recovery and which, without treatment, can
be expected to cause death.

HIPAA RELEASE AUTHORITY

I intend for my surrogate to be treated as I would be treated with respect to my rights
regarding the use and disclosure of my individually identifiable health information and other
medical records. This release authority applies to any information governed by the Health
Insurance Portability and Accountability Act of 1996 ("HIPAA"), 42 USC 1320d and 45 CFR
160-164. This release authority is effective immediately.

Accordingly, I hereby authorize any doctor, physician, medical specialist, psychiatrist,
chiropractor, health-care professional, dentist, optometrist, health plan, hospital, hospice, clinic,
laboratory, pharmacy or pharmacy benefit manager, medical facility, pathologist, or other
provider of medical or mental health care, as well as any insurance company and the Medical
Information Bureau Inc. or other health-care clearinghouse that has paid for or is seeking
payment from me for such services (referred to herein as a "covered entity"), to give, disclose
and release to my surrogate who is named herein, without restriction, all of my individually
identifiable health information and medical records regarding any past, present or future medical
or mental health condition, including all information relating to the diagnosis and treatment of
HIV/AIDS, sexually transmitted diseases, mental illness, and drug or alcohol abuse.
Additionally, my surrogate shall have the ability to ask questions and discuss my protected
medical information with the person or entity who has possession of the protected medical
information even if I am fully competent to ask questions and discuss this matter at the time. It is
my intention to give a full authorization to any protected medical information to my surrogate.
Such information may also be released to any person designated as a primary or successor agent
or attorney-in-fact in a durable power of attorney which I have executed, whether or not such
person is presently serving as such, and to any person presently serving as trustee or named as a
successor trustee in any revocable or irrevocable trust created by me as settlor.

In determining whether I am incapacitated, all individually identifiable health
information and medical records shall be released to the person who is nominated as my

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surrogate hereunder, including any written opinion relating to my incapacity that the person
nominated as my surrogate may have requested. This release authority applies to any information
governed by HIPAA and applies even if that person has not yet begun serving as my surrogate.

This authority given to my surrogate shall supersede any prior agreement that ] may have
made with my health-care providers to restrict access to or disclosure of my individually
identifiable health information. The individually identifiable health information and other
medical records given, disclosed, or released to my surrogate may be subject to redisclosure by
my surrogate and may no longer be protected by HIPAA. I authorize my agent to bring a legal
action against a covered entity which refuses to accept and recognize this release authority. No
covered entity may condition treatment, payment, enrollment or eligibility for benefits on
whether I sign this authorization when the prohibition on conditioning of authorizations in 45
CFR 164.508(b)(4) applies. Further, in order to fulfill my intent as expressed herein, I authorize
my agent to sign any documentation that my agent deems necessary or appropriate in order to
secure the disclosure of my individually identifiable health information and other medical
records. Any information disclosed te my agent may subsequently be disclosed to another party
by my agent. My agent shall not be required to indemnify a covered entity or perform any act in
the event information is subsequently disclosed by my agent. The authority given to my
surrogate herein has no expiration date and shall expire only in the event that I revoke this
Designation of Health Care Surrogate in writing and deliver it to my health-care provider. There
are no exceptions to my right to revoke this Designation of Health Care Surrogate.

PRIOR DESIGNATIONS REVOKED

I revoke any prior Designation of Health Care Surrogate or similar document.

SIGNATURE:

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Dated: the a g day of U uty , in the year 2017.
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Db bye to. Me ee Pu... cacpi TCO a
VIRGINIA PEARLMAN

4701 Pine Tree Drive
Boynton Beach, Florida 33436

